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 EXHIBIT 93
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From:         Verhoff, Jason
Sent:         Fri 6/12/2020 11 :29:43 PM
Subject:      FW: Edward Sector Calls for Service

 Per Assistant Chief Tom Mahaffey:

 The map below provides clarity on the boundary established by the group occupying
 the "Capitol Hill Autonomous Zone" (C.H.A.Z.}. My direction for police response within
 Edward Sector is as follows:

         • Red Zone: Officers should not respond to calls for service within the red zone,
         unless the response is to a mass casualty event (e.g. active shooter incident,
         structural fire likely to endanger human lives etc.). If responding to a mass
         casualty incident within the red zone, all responding officers should muster with a
         supervisor outside that zone to evaluate the feasibility of a police response and
         develop a plan.
                  o For all other calls originating from within the red zone~ Communications
                  Section personnel should attempt to coordinate officer contact outside the
                  red zone boundary.


         • Edward Sector: I'm requiring a four-officer minimum response to all Edward
         Sector calls for service outside the red zone.


 **Officers should continue to document calls for service that originate from within the
 red zone, even under circumstances where complainant/victim contact isn't possible.




   01.26.2022
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